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             IN THE UNITED STATES COURT OF FEDERAL CLAIMS
____________________________________
PETRINA SMITH,                       )
                                     )
            Plaintiff,               )
                                     )
v.                                   ) No. 19-1348C
                                     ) Judge Roumel
UNITED STATES OF AMERICA             )
                                     )
            Defendant.               )
                                     )

          PLAINTIFF’S NOTICE OF FILING OPT-IN CONSENT TO JOIN FORM

       Pursuant to the Court’s Order dated April 5, 2022, striking the Consent to Join Form of

Richard Bartoni without prejudice to refile (Dkt. 51), Plaintiff Smith hereby refiles the attached

Consent to Join Form on behalf of Richard Bartoni. Mr. Bartoni’s Consent to Join Form, dated

December 20, 2021, is attached hereto as Exhibit A.


Dated: April 5, 2022                                Respectfully Submitted,

                                                    s/ David R. Markham
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                                                    s/ Walt Pennington
                                                    Walt Pennington
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               Exhibit A
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       I HEREBY CERTIFY that on this 5th day of April 2022, the foregoing Plaintiff’s Notice

of Filing Opt-In Consent to Join Form was electronically filed with the Clerk of the Court using

the ECF system, which sent notification of such filing to all counsel of record who have enrolled

and registered for receipt of filings via the Court’s ECF system.


                                                   /s/ Leeanna Carcione
